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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

                               Misc. Case No. 1:22-mc-20214

  GRANT HOUSE, SEDONA PRINCE, AND
  TYMIR OLIVER,

                      Petitioners,

        v.

  FLORIDA INTERNATIONAL                       CASE IN OTHER COURT:
  UNIVERSITY,                                 In re Student Athlete NIL Litigation, Case
                                              No. 4:20-cv-03919-CW (N.D. Cal.)
                      Respondent.



   PLAINTIFFS’ MOTION TO COMPEL COMPLIANCE WITH A RULE 45 SUBPOENA,
            OR, IN THE ALTERNATIVE, TO TRANSFER THE MOTION
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         In accordance with Rules 34, 37, and 45 of the Federal Rules of Civil Procedure and

  Rule 26.1(g) of the Local Rules of the Southern District of Florida, Petitioners Grant House,

  Sedona Prince, and Tymir Oliver (“Plaintiffs”) hereby move to compel nonparty Florida

  International University (“FIU”) to comply with a properly served subpoena seeking the

  production of documents, dated September 21, 2021, or, in the alternative, to transfer this Motion

  to the Northern District of California, where the underlying litigation is pending.
                                    MEMORANDUM OF LAW

         Petitioners are college athletes asserting antitrust challenges to current and former National

  Collegiate Athletic Association (“NCAA”) rules prohibiting them from benefiting financially from

  their names, images, or likenesses (“NIL”). On July 1, 2021, the NCAA suspended certain of these

  restrictions, allowing athletes to commercialize their NILs in limited circumstances. Since July,

  many college athletes, including FIU’s athletes, have earned or been offered compensation through

  endorsement, sponsorship, or other NIL licensing deals.

         Respondent FIU, while a nonparty to the litigation, is an NCAA member school and a party

  to, and beneficiary of, the challenged agreements to restrain trade. It is in possession of crucial

  discoverable information that cannot be obtained through other means. FIU has refused to engage

  in meaningful, good-faith negotiations and has not produced any information in response to

  Plaintiffs’ subpoena. But Plaintiffs seek here to compel production of only four categories of

  documents: (1) documents or data relating to endorsement, sponsorship, or other NIL licensing

  agreements entered into by FIU athletes and disclosed to FIU under state law and university policy;

  (2) team “Squad Lists” that NCAA member schools are required to generate annually in

  accordance with NCAA rules; (3) corresponding financial aid summary reports; and (4) FIU’s

  athletics-related media, sponsorship, and similar contracts. Plaintiffs limit their Motion to these

  categories because the responsive materials are readily identifiable, because they are highly

  relevant to Plaintiffs’ claims, and because Plaintiffs have agreed through negotiations with many

  other NCAA member schools (including many of FIU’s peer universities in Conference USA, and

  the other conferences) to limit their productions to these four categories.
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         There is no special reason why FIU should not make the same requested production. If

  anything, there are special reasons why FIU’s records should be produced: FIU’s athletics

  department reportedly generated $31 million in 2020,1 largely because of the efforts of, and value

  derived from, its athletes.     And within days of the NCAA allowing college athletes to

  commercialize their NILs, a group of FIU athletes signed agreements with a South Florida-based

  sports agency for NIL representation, and another announced a deal with a popular restaurant.2

  These realities go to the heart of the underlying litigation, including Plaintiffs’ damages

  calculations, class-certification requirements under the Federal Rules of Civil Procedure, and the

  continued popularity of college sports when the athlete participants are allowed to commercialize

  their NILs.

         As described below, the requested information is proportional to the needs of the litigation.

  It is vital to Plaintiffs’ ability to prove their claims, and production would impose no undue burden

  on FIU, which is a direct participant in, and beneficiary of, the challenged NCAA rules.

  I.     BACKGROUND

         A.      The Underlying Litigation

         Plaintiffs filed the underlying federal antitrust class-action lawsuit against the NCAA and

  its five most prominent member conferences (the ACC, Big Ten, Big Twelve, Pac-12, and SEC),

  alleging that Defendants, together with their member schools, have agreed to adopt national rules


  1 Florida International University Sports Information, COLLEGEFACTUAL.COM (accessed Jan. 15,
  2021),            https://www.collegefactual.com/colleges/florida-international-university/student-
  life/sports/#:~:text=FIU%20brought%20in%20%2414%2C200%2C561%20in,paying%20out%2
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  2 Eric Henry et al., Underdog Dynasty’s Staff Discusses the First Week of the NIL Era,
  UNDERDOGDYNASTY.COM (July 8,            2021), https://www.underdogdynasty.com/2021/7/8/
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  and restrictions to limit college athletes’ abilities to earn compensation in exchange for their NIL

  rights. FIU has been a member of Conference USA since 2013 and a member of the NCAA for

  over five decades. At class certification, Plaintiffs will seek to represent four putative injunctive-

  relief and damages classes and subclasses, consisting of current and former college athletes. See

  Consol. Am. Compl. ¶¶ 300–05, ECF No. 164 3 (attached as Ex. 1).

           The NCAA’s current bylaws, rules, and regulations prohibit FIU and all NCAA Division I

  (“D-I”) schools from directly or indirectly providing compensation to college athletes in exchange

  for the athletes’ NIL rights. Id. ¶ 23. For decades, NCAA rules also prohibited athletes from

  receiving NIL-related compensation from any source, including from third parties unaffiliated with

  NCAA member schools. Id. ¶¶ 97, 100–04. On July 1, 2021, the NCAA announced a temporary

  policy suspending some of its NIL rules and permitted athletes to receive compensation from third

  parties for their NILs and subject to several limitations. Id. ¶ 22.

           The period since July 1 has proven to be a natural economic experiment. Thousands of

  athletes have seized the newly permissible NIL opportunities, demonstrating the immense demand

  for college athletes’ NILs. FIU’s athletes are no exception. And FIU has boasted about its ability

  to enhance athletes’ NIL-related earning potential, announcing on November 3, 2021, that FIU

  had launched its “ROAR” program to help athletes build and monetize their personal brands.4
           Nonetheless, FIU was, and continues to be, a direct participant and beneficiary of the illegal

  restraints at issue. The FIU Panthers play fourteen NCAA D-I sports, and FIU’s athletic

  department earned more than $31 million in revenues last year. 5 The efforts of, and value derived

  from, FIU’s athletes directly contribute to these revenues. For example, in 2015, FIU signed a

  five-year deal with Adidas reportedly worth $2.6 million—an amount that more than doubled its

  3 Unless noted otherwise, docket citations refer to docket entries in In re College Athlete NIL
  Litigation, No. 4:20-md-03919-CW (N.D. Cal.).
  4 FIU Athletics Launches “ROAR” Name, Image and Likeness Program in Partnership with
  INFLCR, FIUSPORTS.COM (Nov. 3, 2021), https://fiusports.com/news/2021/11/3/general-fiu-
  athletics-launches-roar-name-image-and-likeness-program-in-partnership-with-inflcr.aspx.
  5   See supra n.1.

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  previous agreement with Adidas. 6 Under this agreement, FIU receives substantial remuneration

  in exchange for requiring its athletes to wear Adidas apparel during all competitions, and Adidas

  reaps the benefits of associating its products with FIU’s athletes. The athletes, however, earn

  nothing from the arrangement because NCAA rules continue to prohibit it.

         B.     The Subpoena

         Plaintiffs served the subpoena (attached as Exhibit 2) on FIU on September 21, 2021, with

  twelve relevant document requests. Attached to the subpoena, Plaintiffs provided copies of the

  protective orders governing the production of confidential documents in the underlying

  litigation—orders that have protected some of the most highly confidential and valuable

  commercial agreements in college sports. See Ex. 2 at Attachment B. Plaintiffs also attached a

  sample notice for FIU to inform athletes affected by the subpoena that FIU would be producing

  certain information in accordance with the Family Educational Rights and Privacy Act. 20 U.S.C.

  § 1232g; 34 CFR Part 99 (“FERPA”). See Ex. 2 at Attachment C.

         On October 8, 2021, FIU provided standard-form objections, including general objections

  that the subpoena was overbroad in scope; that much of the responsive information would be

  nonpublic, sensitive, confidential, proprietary, and/or trade secrets; that the requests sought

  information protected by federal and state privacy laws; and that the method of and time for

  compliance imposed an undue burden. See Objections of Non-Party, FIU Board of Trustees, to

  Subpoena Issued by Plaintiffs (attached as Ex. 3). During a telephonic meet-and-confer on

  November 19, and through email correspondence, Plaintiffs substantially narrowed their request—

  and the burden on FIU—to the four categories sought here: (1) documents reflecting FIU athletes’

  NIL agreements, or data of the same; (2) Squad Lists; (3) financial aid summary reports; and


  6 David Drucker, University Agrees to New Deal With Adidas, PANTHERNOW.COM (Jan. 8,
  2015), https://panthernow.com/2015/01/08/university-agrees-to-new-deal-with-adidas/; FIU
  Athletics Sign $2.6 Million Deal With Adidas, BOXSCORENEWS.COM (Jan. 5, 2015)
  https://boxscorenews.com/fiu-athletics-signs-million-deal-with-adidas-p110617-68.htm.
  Plaintiffs believe that this agreement has been extended through at least the 2021-2022 NCAA
  athletic season.

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   (4) commercial agreements entered into by FIU’s athletics department. Plaintiffs explained to FIU

   that the requested materials are critical to properly defining Plaintiffs’ classes, proving antitrust

   injury, and developing reliable damages models. Plaintiffs offered to compromise further and limit

   their requests to Requests 1, 2, and 4, but FIU refused to engage in a substantive conversation, and

   on December 16, 2021, stated that it would continue to stand on its original objections. See Email

   from M. Lines to A. Dale & J. Wexler (Dec. 16, 2021) (attached as Ex. 4). To date, FIU has not

   produced any documents in response to the subpoena, nor provided any confirmation that it intends

   to do so. 7

   II.     ARGUMENT

           The Court should order FIU to produce the requested materials. Their production is

   proportional to the needs of the underlying litigation, as the documents are highly relevant to the

   claims and defenses, the requests are tailored to minimize any burden on FIU, and the information

   is unavailable from any other source.

           A.     Legal Standard
           “The Federal Rules of Civil Procedure favor an expansive scope of discovery,” including

   with respect to a Rule 45 nonparty subpoena. N. Am. Transp. Servs., LLC v. Ryder Truck Rental,

   Inc., 2021 WL 3290627, at *2 (S.D. Fla. Aug. 2, 2021). Indeed, a Rule 45 subpoena “has the same

   scope of discovery allowed under Rules 26(b) and 34,” which allow “discovery regarding any

   non-privileged matter that is relevant . . . and proportional to the needs of the case[.]” Id. (quoting

   Fed. R. Civ. P. 26(b)(1)). Proportionality contemplates the importance of the issues, the amount

   in controversy, the parties’ resources, the importance of the discovery, and whether the burden or

   expense of the proposed discovery outweighs its likely benefit. See Fed. R. Civ. P. 26(b)(1); see

   also, e.g., ADP, LLC v. Ultimate Software Grp., Inc., 2017 WL 7794274, at *2 (S.D. Fla. July 26,

   2017) (ordering discovery where “it is not unduly burdensome to ask a [nonparty] to search certain


   7At the November 19 meet-and-confer, counsel for FIU stated that the school would be willing to
   produce a limited set of already-public documents, responsive to subpoena Requests 6, 7, 9, and
   11. See Email from J. Wexler to M. Lines (Nov. 22, 2021) (attached as Ex. 5), at 3.

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   employees’ emails on a specific subject matter”); Sullivan v. Personalized Media Commc’ns, LLC,

   2016 WL 5109994, at *2–3 (N.D. Cal. Sept. 21, 2016).

          A party seeking nonparty discovery “must take reasonable steps to avoid imposing undue

   burden or expense.” Ryder, 2021 WL 3290627, at *2 (quoting Fed. R. Civ. P. 45). While status

   as a nonparty may be considered in determining whether the burden imposed by the subpoena is

   undue, it is not dispositive. Fla. State Conf. of Branches & Youth Units of NAACP v. Lee, 2021

   WL 4891300, at *2–3 (S.D. Fla. Oct. 19, 2021) (rejecting argument that “information sought in

   Plaintiffs’ subpoenas is not relevant to the underlying case because [respondent] is not a party to

   that case”). A “party objecting to discovery based on undue burden bears the burden of persuasion

   on that objection.” In re Zantac (Ranitidine) Prods. Liab. Litig., 2020 WL 5585137, at *3 (S.D.

   Fla. Sept. 16, 2020); accord Ryder, 2021 WL 3290627, at *2.

          B.      The Subpoenaed Documents Are Relevant and Necessary to the Litigation

                  i.      NIL Agreements or Data

          In response to subpoena Request No. 4, Plaintiffs seek, for the period from July 1, 2021,

   through the end of the 2021–2022 academic year, NIL agreements that athletes disclosed to FIU

   in accordance with state law and FIU, 8 or data about those agreements. 9

          FIU’s objections are as follows:

          (i) the request seeks documents protected from disclosure by federal and state privacy
          laws; (ii) the request is overly broad in scope; (iii) the request is unduly burdensome;
          (iv) the request seeks the disclosure of documents that should be first obtained directly
          from one of the parties in the case without burdening a non-party with the time and
          expense of production; (v) the Subpoena places an undue burden on the University due
          to (a) the notification requirements under FERPA and (b) the large number of student
          records at issue; (vi) the request is unreasonable in terms of the time frame for
          compliance due to (a) the large number of records requested, (b) the notification

   8 FIU’s NIL policy requires that “FIU student-athletes must disclose any NIL contract or
   opportunity through the reporting system established by FIU within five (5) business days.”
   Student-Athlete Name, Image, and Likeness, FIU.EDU, https://policies.fiu.edu/files/929.pdf.
   9Plaintiffs offered to substantially narrow the original subpoena request to this limited category of
   documents after FIU’s objections regarding breadth and burden. Compare Ex. 2, Subpoena
   Request 4, with Ex. 5, at 1–2.

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            requirements under FERPA and (c) the burdensomeness of the request; and (vii) the
            request seeks sensitive, non-public, confidential, proprietary and/or trade secret
            financial information.
   Ex. 3, at 6; Ex. 4.

            This data regarding student-athletes’ NIL agreements goes to the heart of the underlying

   litigation, as Plaintiffs allege that the NCAA’s national rules that limit—and until July 1, entirely

   prohibited—athletes’ abilities to enter into NIL agreements violate the antitrust laws. These

   agreements (or data therefrom) show that the NCAA’s rules suppress—and until July 1, entirely

   eliminated—a robust market for college athletes’ NIL rights. There can be no more-pertinent

   evidence in an antitrust lawsuit than a natural experiment of the market without some of the

   challenged restraints. See In re NCAA Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239,

   1250, 1258 (9th Cir. 2020) (affirming district court injunction against certain NCAA compensation

   limits based, in part, on “two natural experiments” of athletes’ receipt of compensation above

   NCAA limits), aff’d, 141 S. Ct. 2141 (2021). The NIL agreements Plaintiffs seek embody that

   natural experiment, and for that reason alone, they should be produced.

            Separately, details about the NIL agreements are essential for Plaintiffs to develop damages
   models that will reliably predict which athletes, or categories of athletes, would have entered into

   such agreements in the past if the challenged NCAA rules were not in effect, and how much the

   athletes would have received. According to public reports, FIU athletes quickly began taking

   advantage of these opportunities. For example, a group of FIU athletes signed agreements with a

   South Florida-based sports agency for NIL-related representation. And another announced a deal

   with a popular restaurant and a massage gun company.10 Indeed, FIU itself has boasted about the

   NIL earning opportunities available to its athletes. Just weeks after the NCAA eliminated some

   of its NIL-related rules, FIU posted an article on its website discussing the changed policy and

   prominently displaying an image of an FIU athlete’s NIL “Partnership Announcement” with a




   10   See supra n.2.

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   popular restaurant. 11 And, on November 3, when FIU announced its “ROAR” program—in

   partnership with marketing company INFLCR 12—to assist athletes in building their NIL brands,

   FIU’s Executive Director of Sport and Entertainment said:

             It is important for us to both educate and support our student-athletes throughout the
             process, which is why we have partnered with INFLCR, the industry-leader in the self-
             branding space. Their innovative platform will help our student-athletes maximize their
             NIL opportunities and serve as a launching pad for their future success.13
             Plaintiffs seek details about FIU athletes’ NIL agreements that are specific to FIU and

   maintained by FIU in the normal course of business. Per FIU policy effective July 1, 2021, athletes

   are required to disclose their NIL-agreement details to FIU through the school-designated

   platform, 14 likely INFLCR. 15 This information is not maintained by any Defendant. Nor is it

   available publicly. The burden that Plaintiffs would face in independently collecting each

   agreement entered by a FIU athlete is substantial. By contrast, there would be little to no burden

   on FIU to produce the requested information, as it can be easily downloaded from the school-

   designated platform. FIU is thus the only reasonable custodian of this essential information.

             Although FIU has declined to engage in material discussions to elaborate on its boilerplate

   objections, none has merit. Plaintiffs have substantially narrowed the documents they seek to only

   the NIL agreements or data maintained in the school-designated platform detailing those

   agreements. 16 This is a limited universe of documents, as NIL deals have only been permitted


   11Alexandra Pecharich, Compensation for Student-Athletes? Everything You Need to Know about
   ‘NIL’, FIUNEWS.COM (July 26, 2021), https://news.fiu.edu/2021/big-bucks-for-student-athletes-
   everything-you-need-to-know-about-nil-compensation.
   12INFLCR is one of several companies providing technology that universities may provide to their
   student-athletes to assist them in tracking NIL opportunities and agreements. See Complete
   Solutions for Name, Image, & Likeness, INFLCR, available at https://www.inflcr.com/solutions/
   compliance-staff/.
   13   See supra n.4.
   14
        See supra n.8.
   15   See supra n.4.
   16   See supra n.9.

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   under NCAA rules since July 1, 2021. To the extent FIU has confidentiality concerns, there is a

   comprehensive protective order in the underlying litigation, which was attached to the subpoena

   and has effectively protected the most highly confidential commercial agreements in all of college

   sports. See, e.g., In re Nat’l Collegiate Athletic Ass’n Grant-in-Aid Cap Antitrust Litig., Case

   No. 4:14-md-2541-CW, Dkt. Nos. 1111–13 (retaining under seal nonpublic portions of

   multibillion-dollar NCAA multimedia agreement and highly valuable sponsorship licensing

   agreements).

          Similarly, while FERPA prohibits the everyday disclosure of students’ personal

   information, such information may be produced in response to a lawful subpoena where the

   affected students are notified in advance and provided an opportunity to object to disclosure. 20

   U.S.C. § 1232g(b)(2)(B); 34 CFR § 99.31(a)(9)(ii). 17 The burden of issuing FERPA notices

   regarding this request is minimal. FIU undoubtedly maintains accessible contact information to

   allow it to communicate easily with its students. FIU must provide notice only to those athletes

   who have received and reported compensation for their NILs since July 1, 2021.

          In short, NIL agreements are direct evidence of the effect of the challenged NCAA rules.

   Accordingly, because of FIU’s unique possession of the NIL-deal information for its athletes and

   the minimal burden required to produce that information, the request is proportionate to the needs

   of the underlying litigation and should be compelled. See Ryder, 2021 WL 3290627, at *2

   (compelling nonparty to produce “discrete set” of information); TIC Park Ctr. 9, LLC v. Cabot,

   2017 WL 3099317, at *3 (S.D. Fla. Apr. 12, 2017) (nonparty’s “reliance on barebones claims of

   hardship is insufficient to meet the requirements of Rule 45”).




   17To Plaintiffs’ knowledge, the issue of whether commercial agreements between athletes and third
   parties are subject to FERPA protections has not been adjudicated. In any event, Plaintiffs do not
   object to FIU’s issuing FERPA notices and providing athletes an opportunity to object if FIU
   believes it necessary. Plaintiffs intend to honor any athlete objections to disclosure.

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                  ii.      Squad Lists

          In response to subpoena Request No. 1, Plaintiffs seek, for the proposed class period from

   January 1, 2016, through the 2021–2022 academic school year, all “squad list forms” and

   “supplementary forms,” as defined in the 2020–2021 NCAA Division I Manual, Bylaw

   15.5.11.2, 18 prepared by FIU for its D-I sports teams (“Squad Lists”). Ex. 2, at 6. NCAA rules

   require schools, including FIU, to prepare and maintain Squad Lists for each of their D-I athletic

   teams and to make them “available for examination upon request by an authorized representative

   of another member institution, the NCAA, and, if the institution is a member of a conference, an

   authorized representative of the conference.” NCAA Bylaw 15.5.11.2 et seq. These Squad Lists

   detail each team member’s name and NCAA eligibility data, including his or her class year and

   the amount of athletic and total financial aid received. Id. In other words, a Squad List contains

   a compilation of material information about the student-athlete team members.

          FIU objected to producing Squad Lists, based on the following grounds:

          (i) the request seeks documents protected from disclosure by federal and state privacy
          laws; (ii) the request is overly broad in scope; (iii) the request is overly broad in time
          frame; (iv) the request is unduly burdensome; (v) the request purports to require the
          creation of documents or the providing of “information”; (vi) the request seeks the
          disclosure of documents that should be first obtained directly from one of the parties in
          the case without burdening a non-party with the time and expense of production; (vii)
          the Subpoena places an undue burden on the University due to (a) the notification
          requirements under FERPA and (b) the large number of student records at issue; (viii)
          the request is unreasonable in terms of the time frame for compliance due to (a) the
          large number of records requested, (b) the notification requirements under FERPA and
          (c) the burdensomeness of the request.
   Ex. 3, at 3–4; Ex. 4.

          Plaintiffs believe that FIU stores its Squad Lists in an easily accessible central repository,

   but Plaintiffs offered to discuss particular burden concerns associated with producing them. Yet

   FIU has refused to meaningfully engage. See Ex. 4, at 1–3. Because Squad Lists are readily



   18See 2020–2021 NCAA Division I Manual, available at https://www.ncaapublications.com/p-
   4605-2020-2021-ncaa-division-i-manual.aspx.

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   available for production and highly relevant to the underlying antitrust litigation, FIU should be

   compelled to undertake the minimal burden required to produce them.

          The compiled information maintained in Squad Lists is critical data for at least three

   reasons: Plaintiffs will use the data to (1) develop their damages model; (2) address class definition

   issues; and (3) demonstrate that all class members were harmed.

          In support of their damages claims, Plaintiffs’ experts will develop economic-regression

   models to predict which athletes would have received NIL compensation in the but-for world.

   Plaintiffs expect to match financial-aid and player-identification data in Squad Lists to real-world

   attributes (which Plaintiffs will independently collect)—such as on-field performance, social

   media presence, pre-enrollment notoriety, and local and national popularity—to create “player

   profiles” that may serve as inputs into the regression model. For the 2021–2022 natural-

   experiment year, this “player profile” will also include the NIL-agreement data discussed above.

   Courts regularly compel third parties to produce materials relevant to a party’s damages claims.

   See, e.g., Ryder, 2021 WL 3290627, at *2, *4; Gold Coast Prop. Mgmt., Inc. v. Valley Forge Ins.

   Co., 2010 WL 9871643, at *1, *3, *6 (S.D. Fla. Jan. 26, 2010) (requiring nonparty to produce

   “categories of documents relating . . . to Plaintiff’s claim for hurricane damage”); Dig. Shape

   Techs., Inc. v. Glassdoor, Inc., 2016 WL 5930275, at *2, *5 (N.D. Cal. Oct. 12, 2016) (compelling

   nonparty to produce “documents responsive to [certain] requests to support [plaintiffs’] damages

   claim” and “relevant to the question of damages”).

          Plaintiffs will also use Squad List data to respond to Defendants’ “substitution effect”

   argument—the theory that in the but-for world, where the challenged NIL rules did not exist, more-

   talented athletes would attend college in the first place, or stay in school longer, which, in turn,

   would displace less talented athletes from the class. This argument contends that less-talented

   athletes benefit from the challenged NIL restraints and thus cannot be part of the proposed classes.

   Plaintiffs will analyze financial-aid and roster information in Squad Lists to address this argument

   and the class definitions to support their position that no class member would have been displaced

   in the but-for world, even under Defendants’ substitution-effect theory.

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          The substitution-effect argument is not hypothetical—Defendants already advanced it in

   their Answers. For example, the NCAA’s Eleventh Additional Defense states, “The claims of the

   Plaintiffs and alleged members of the putative class and sub-classes are barred, in whole or in part,

   to the extent that they were not injured by, or have been enriched by, the rules being challenged

   here . . . .” Def. NCAA’s Answer, ECF No. 170, at 51 (emphasis added) (attached as Ex. 6).

   Further, plaintiffs in prior antitrust litigations against the NCAA and conference Defendants have

   addressed the same arguments, illustrating the relevance of the Squad Lists.

          In the O’Bannon antitrust litigation challenging the NCAA’s prohibition on college

   athletes’ abilities to “enter[] into group licensing arrangements with videogame developers and

   broadcasters for the use of their names, likenesses, and images,” the court declined to certify

   certain of the proposed plaintiffs’ classes based on the NCAA’s substitution-effect arguments. See

   In re NCAA Student-Athlete Name & Likeness Licensing Litig., 2013 WL 5979327, at *8–9 (N.D.

   Cal. Nov. 8, 2013) (observing that a “barrier to manageability here is the so-called ‘substitution

   effect’”). In the more recent Alston litigation, plaintiffs rebutted a similar argument through an

   expert analysis of Squad List data showing the distribution of financial aid among student-athletes.

   In re NCAA Athletic Grant-In-Aid Cap Antitrust Litig., 311 F.R.D. 532, 542–43 (N.D. Cal. 2015)

   (crediting plaintiffs’ experts’ analysis of Squad Lists and financial-aid data to reject substitution-

   effects arguments). Critically, the Alston plaintiffs’ ability to analyze Squad Lists stands in stark

   contrast to the O’Bannon class-certification denial when the plaintiffs did not obtain that data and

   could not provide the court with more-extensive analyses of the proposed classes, as Plaintiffs

   anticipate they will do here. 19 Accordingly, Squad Lists are highly relevant and should be

   produced for that reason alone.

   19The proposed classes in O’Bannon and Alston share certain attributes with the proposed classes
   in the underlying litigation but are also distinguishable in several ways—an issue that may be
   further considered by the Northern District of California during the class-certification process.
   This action is also being prosecuted following the Supreme Court’s landmark decision in Alston,
   which made clear that compensation restraints imposed by the NCAA and its members are fully
   subject to antitrust scrutiny, which also may bear on the class-certification and damages issues
   here. See Nat’l Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141, 2156–57 (2021).

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            Although FIU has largely declined to engage in substantive discussions during the parties’

   meet-and-confers, Plaintiffs understand that the burden of issuing FERPA notices is FIU’s primary

   objection to producing Squad Lists. As noted above, FERPA permits the disclosure of otherwise-

   protected information in response to a lawful subpoena where the affected students are notified in

   advance and provided an opportunity to object. 20 Plaintiffs believe that, like other universities,

   FIU maintains an accessible repository of current and former students’ contact information and,

   like other universities, FIU routinely sends mass mailings to far more current and former students

   than those impacted by the subpoena. It is thus no surprise that in response to similar subpoenas,

   dozens of colleges and universities—including institutions in Florida—have issued FERPA

   notices and produced, or will soon produce, Squad Lists.

            In sum, compelling FIU to produce Squad Lists is proportional to the needs of the

   underlying case. They are created and maintained by FIU in the normal course of business, are

   highly relevant to the underlying litigation, and would impose minimal burden on the well-

   resourced FIU Athletics Department.

                    iii.   Financial Aid Summary Reports

            In response to subpoena Request No. 2, Plaintiffs ask that the Court order FIU to produce

   (or consent to the NCAA producing), for the period from January 1, 2016, through the 2021–2022

   academic year, “Student-Athlete Financial Aid Summary Reports” from the NCAA’s Compliance

   Assistant database, which FIU submits annually. These reports contain additional details on team-

   member financial aid.

            Although Plaintiffs offered this substantially narrowed request, 21 FIU continues to stand

   on its original objections:




   20Plaintiffs do not dispute that FERPA protects some data in Squad Lists, and Plaintiffs will not
   pursue such information about any athlete who objects through the FERPA process.
   21   Compare Ex. 2, Subpoena Request 2, with Ex. 4, at 1–3.

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           (i) the request seeks documents protected from disclosure by federal and state privacy
           laws; (ii) the request is overly broad in scope; (iii) the request is overly broad in time
           frame; (iv) the request is unduly burdensome; (v) the request purports to require the
           creation of documents or the providing of “information”; (vi) the request seeks the
           disclosure of documents that should be first obtained directly from one of the parties in
           the case without burdening a non-party with the time and expense of production; (vii)
           the Subpoena places an undue burden on the University due to (a) the notification
           requirements under FERPA and (b) the large number of student records at issue; (viii)
           the request is unreasonable in terms of the time frame for compliance due to (a) the
           large number of records requested, (b) the notification requirements under FERPA and
           (c) the burdensomeness of the request; and (ix) the request seeks sensitive, non-public,
           confidential, proprietary and/or trade secret financial information.
   Ex. 3, at 4–5; Ex. 4.

           This financial-aid data—which is complementary to, and more comprehensive than, the

   information in Squad Lists—provides unique insight into the status of the current and former

   athletes. As described above, Plaintiffs will use this information in tandem with Squad List

   information to build and test their damages models, address the scope of the class definitions, and

   address Defendants’ substitution-effect argument. There is no additional burden to FIU in

   producing this data, as athletes can be notified through the same FERPA notice issued by FIU with

   respect to Plaintiffs’ prior requests, and upon completion of the FERPA process, FIU can simply

   authorize the NCAA to make the production.

                   iv.     Athletics Commercial Agreements

           Plaintiffs seek to compel FIU to produce, for the period from January 1, 2016, through the
   present, (1) any media, sponsorship, licensing, or other revenue-generating commercial

   agreements entered into by FIU relating to its D-I sports, including apparel and equipment

   contracts, sponsorship contracts, multimedia-rights contracts, and contracts licensing the broadcast

   of FIU’s D-I athletics events; and (2) FIU’s agreement or agreements with Opendorse.22 Plaintiffs




   22 In an effort to avoid the need for court intervention, Plaintiffs offered to drop this request entirely
   if FIU agreed to produce Squad Lists, Financial Aid Summary Reports, and documents reflecting
   NIL agreements. See Ex. 5, at 1. FIU declined to substantively respond to the offer, Ex. 4, at 1,
   and Plaintiffs therefore seek production of these highly relevant commercial agreements.

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   are also amenable to the Court’s setting a materiality threshold, allowing FIU to withhold any

   revenue-generating commercial agreements valued at less than, e.g., $10,000.

           FIU objects to this Request on the following grounds:

           (i) the request is overly broad in scope; (ii) the request is overly broad in time frame;
           (iii) the request is unduly burdensome; (iv) the request seeks the disclosure of
           documents that should be first obtained directly from one of the parties in the case
           without burdening a non-party with the time and expense of production; and (v) the
           request seeks sensitive, non-public, confidential, proprietary and/or trade secret
           financial information.
   Ex. 3, at 8; Ex. 4.
           FIU’s commercial agreements are directly relevant to the claims and the defenses in the

   underlying litigation. Indeed, they illustrate the monopsony profits that NCAA schools derive, at

   least in part, from the use of athletes’ NILs. For example, under FIU’s reported apparel deal with

   Adidas, FIU requires its athletes to wear Adidas apparel during all competitions, and Adidas reaps

   the benefits of associating its products with FIU’s athletes. The athletes, however, receive no

   compensation from the agreement. These agreements also reflect the value that FIU’s commercial

   partners place on athletes’ NIL rights—information that goes to the heart of Plaintiffs’ claims.

   And according to Plaintiffs’ review of similar agreements, FIU’s commercial agreements are likely

   to explicitly or implicitly grant FIU’s commercial partners the rights to use FIU athletes’ NILs.

   Finally, Defendants have repeatedly asserted that a principal justification for their compensation-

   related rules (including the challenged NIL rules) is that college sports are distinct from

   professional sports and that fans consume college sports because of their “amateur” nature.

   Plaintiffs are entitled to test that claim by reviewing the terms of the commercial agreements to

   determine how much (if at all) those documents show any connection between consumer interest

   in FIU D-I athletics and players’ not receiving NIL compensation, rather than loyalty and interest

   in FIU for other reasons.

           These commercial agreements are unique to FIU and could not readily be obtained from

   another party. It would be substantially more burdensome for Plaintiffs to identify each of FIU’s

   commercial partners and seek production of the agreements from them piecemeal while FIU is

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   likely to have them segregated in a central location. Nor are Plaintiffs aware of any publicly

   available repository containing this targeted information absent making a public records request,

   which would result in substantially the same or greater burden of production for FIU. 23 And to

   address any confidentiality concerns associated with producing these agreements, Plaintiffs

   provided FIU with the operative protective orders in the underlying litigation. As noted above,

   these orders have effectively protected from disclosure the most-lucrative and highly confidential

   commercial agreements in all of college sports, and similar confidential agreements—many worth

   billions of dollars—have been produced without issue in this litigation.

          In short, FIU’s commercial agreements are highly relevant to the underlying litigation,

   including as evidence of precisely how FIU itself generates monopsony profits as a result of the

   challenged NCAA rules. The agreements will be adequately concealed from public disclosure and

   are likely maintained by FIU in a central repository in the normal course of its business. The

   minimal burden required for FIU to collect and produce them is therefore proportionate to the

   needs of the underlying litigation.

   III.   IN THE ALTERNATIVE, THE COURT SHOULD TRANSFER PLAINTIFFS’
          MOTION TO THE NORTHERN DISTRICT OF CALIFORNIA
          Finally, in the alternative, this Motion should be transferred to the Northern District of

   California for adjudication because it arises from complex litigation pending there. See In re Coll.

   Athlete NIL Litig., Case No. 4:20-cv-03919-CW (N.D. Cal.). “When the court where compliance

   is required did not issue the subpoena, it may transfer a motion under this rule to the issuing court

   . . . if the court finds exceptional circumstances.” Fed. R. Civ. P. 45(f). The phrase “exceptional

   circumstances” has been broadly interpreted. See Fed. R. Civ. P. 45(f) Advisory Comm. Notes

   (2013 Amendment). Courts weighing transfer under Rule 45(f) “should look to a variety of factors

   to determine if the judge from the issuing court is in a better position to rule on the motion due to

   23Although FIU indicated at the November 19 meet-and-confer that it would be willing to produce
   athletics-related agreements which are subject to public records request disclosure (which it has
   not done), it stated that it would not produce responsive documents maintained by its private
   affiliate, the Panther Athletic Fund.

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   her familiarity with the full scope of the issues involved as well as any implications the resolution

   of the motion will have on the underlying litigation.” Hoog v. PetroQuest, LLC, 338 F.R.D. 515,

   517–19 (S.D. Fla. 2021) (citation omitted). Those “factors include the complexity, procedural

   posture, duration of pendency, and the nature of the issues pending before, or already resolved by,

   the issuing court in the underlying litigation.” Id. (citation omitted); see also Walgreen Co. v.

   Wyeth, Inc., 2019 WL 2406338, at *2 (S.D. Fla. Mar. 26, 2019).

           Given that the Northern District of California already has the best understanding of the

   issues involved in this complex class action (issues that directly implicate the requests at the heart

   of Plaintiffs’ Motion), the importance of avoiding inconsistent rulings, and minimal (if any) burden

   on FIU to litigate this matter in the Northern District of California, exceptional circumstances exist,

   and this Court should transfer Plaintiffs’ Motion to that district.

           A.      Plaintiffs’ Motion Should Be Adjudicated in the Northern District of
                   California, Which Has the Best Understanding of the Complex Issues Involved
                   in This Action
           Courts should grant motions to transfer where the litigation is complex and doing so is

   necessary “to avoid disrupting the issuing court’s management of the underlying litigation.” See

   Fed. R. Civ. P. 45(f) Advisory Comm. Notes (2013 Amendment). Here, the Northern District of

   California is in the best position to adjudicate the objections raised by FIU—which, as described

   above, relate to the merits of the underlying litigation—and provide consistent rulings on similar

   discovery disputes without disrupting the underlying case. See Walgreen, 2019 WL 2406338, at

   *2 (noting that the transferor court’s “resolution of debates about relevance . . . [and] matters

   entrusted to the substantial discretion of trial courts [] would run the risk of being inconsistent with

   the [issuing court’s] management of the voluminous discovery in this lawsuit”); Cont’l Auto. Sys.

   U.S., Inc. v. Omron Auto. Elecs., Inc., 2014 WL 2808984, at *2 (N.D. Ill. June 20, 2014)

   (transferring motion to compel nonparty document production to avoid “disrupting [the issuing]

   court’s management of the underlying litigation” where relevance objections to a subpoena

   required the court to “delv[e] into the merits of the litigation”). The issuing court remains the best


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   forum for resolution of such questions even where it “has not yet ruled on any discovery disputes.”

   In re Braden, 344 F. Supp. 3d 83, 94 n.9 (D.D.C. 2018); accord Exist, Inc. v. Shoreline Wear, Inc.,

   2015 WL 13694080, at *3 (S.D. Fla. Oct. 16, 2015) (finding exceptional circumstances given the

   “potential for disruption in the underlying litigation caused by potentially conflicting rulings”).

          The Northern District of California—specifically, Judge Claudia Wilken and Magistrate

   Judge Nathanael Cousins, who are presiding over the underlying litigation—is particularly familiar

   with the materials that lie at the heart of Plaintiffs’ Motion to Compel. Indeed, Judges Wilken and

   Cousins presided over two prior antitrust lawsuits concerning NCAA compensation limits. Those

   experiences, including Judge Wilken’s intimate familiarity with the substitution-effect argument

   raised—and decided differently—in each case, demonstrate that the Northern District of California

   has “developed a deep and rigorous understanding of the issues implicated in [this] dispute,”

   making transfer appropriate. Global Music Rights, LLC v. Saga Commc’ns, Inc., 2021 WL

   4751184, at *3 (N.D. Ohio Oct. 8, 2021) (internal citations and quotations omitted); accord Hoog,

   338 F.R.D. at 517–18 (presiding judge is “better positioned to determine issues of relevancy . . .

   and other related issues in light of her close involvement in the [underlying] litigation and her

   knowledge of the issues at play in the complex case before her” where the underlying litigation

   had “a complex history and is related to several cases that have been filed in the [presiding district]

   involving highly specialized . . . class action claims”).

          B.      The Northern District of California Should Rule on Similar Motions
          Exceptional circumstances requiring transfer are also present where, as here, “the issuing

   court is already coordinating discovery in the underlying multidistrict action [and] that court has

   already issued subpoenas to entities in various other states.” In re Niaspan Antitrust Litig.,

   2015 WL 3407543, at *1 (D. Md. May 26, 2015); see also Fed. R. Civ. P. 45(f) Advisory Comm.

   Notes (2013 Amendment) (“[T]ransfer may be warranted . . . [where] the same issues are likely to

   arise in discovery in many districts.”); The Dispatch Printing Co. v. Zuckerman, 2016 WL 335753,

   at *3–4 (S.D. Fla. Jan. 27, 2016) (granting transfer given the “demonstrable risk of inconsistent


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   discovery rulings” where plaintiff “will continue to subpoena th[e] same type of information from

   [nonparties in] various judicial districts”).

           Plaintiffs have served more than 100 subpoenas on colleges and universities in dozens

   of judicial districts. While Plaintiffs have reached agreements with most of these NCAA member

   schools, similar motions to compel and transfer are likely to become necessary in other judicial

   districts. 24 Transfer will therefore preserve the Northern District of California’s authority over its

   proceedings and promote judicial economy by ensuring consistent subpoena compliance. See

   VirnetX, Inc. v. Apple Inc., 2013 WL 12108440, at *3 (S.D. Fla. Sept. 26, 2013), report and

   recommendation adopted, 2013 WL 12108441 (S.D. Fla. Nov. 18, 2013) (transfer appropriate

   where “virtually identical subpoenas . . . and motions to transfer are pending in three different

   districts” and “denying transfer in this District while the other districts with pending motions may

   or may not do the same would only add to the confusion and complexity of the underlying

   litigation”); Google, Inc. v. Digital Citizens All., 2015 WL 4930979, at *3 (D.D.C. July 31, 2015)

   (granting motion to transfer because similar motions to compel and transfer pending in multiple

   jurisdictions “create[d] potential for inconsistent rulings” and “weigh[ed] in favor of a single

   judicial officer deciding all . . . disputes”).

           C.      Transferring This Motion Would Impose No Burden on FIU

           Transfer will impose minimal, if any, burden on FIU. Even if counsel for FIU were

   required to appear in person for any oral argument (which is uncertain given the prevalence of

   remote hearings occurring across the country in light of the COVID-19 pandemic), transfer

   would still be appropriate because “the fact that the subpoenaed party and its counsel are []

   located [outside] the issuing district” does not “weigh decisively against transfer to the issuing

   court in the face of other exceptional circumstances favoring transfer.” Chem-Aqua, Inc. v. Nalco

   Co., 2014 WL 2645999, at *4 (N.D. Tex. June 13, 2014). Nor will FIU be required to incur any


   24Plaintiffs have already filed a similar Motion to Compel or Transfer in this district against the
   University of Miami, which is represented by the same counsel as FIU. See Case No. 1:22-mc-
   20194 (S.D. Fla.).

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   additional expense to litigate in the Northern District of California. See Exist, Inc. v. Shoreline

   Wear, Inc., 2015 WL 13694080, at *3 (S.D. Fla. Oct. 16, 2015) (minimal burden associated with

   transfer to California in part because “the Advisory Committee notes to Rule 45 encourage the

   court to permit telephonic participation after transfer to minimize travel costs to non-parties”).

   Indeed, “[t]ransferring a motion to the jurisdiction where the underlying litigation is pending that

   will require few, if any, modifications of the written submissions, does not rise to the level of

   unfair prejudice. Therefore, the cost that may be incurred to litigate a motion in the [issuing

   district] . . . is de minimis.” Wultz v. Bank of China, Ltd., 304 F.R.D. 38, 45 (D.D.C. 2014)

   (emphasis in original); accord Dispatch Printing, 2016 WL 335753, at *4 (transferring motion

   after finding transfer would not “impose an undue burden that would have the effect of canceling

   out the exceptional circumstances weighing heavily in favor of transfer”).

   IV.    CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court compel FIU’s

   compliance with the subpoena or, in the alternative, grant Plaintiffs’ Motion to Transfer.

                                               * * * * *




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   CERTIFICATE OF GOOD FAITH CONFERENCE; CONFERRED BUT UNABLE TO
   RESOLVE ISSUES PRESENTED IN THE MOTION
          In accordance with Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant

   has conferred with all parties or nonparties who may be affected by the relief sought in this Motion

   in a good-faith effort to resolve the issues, but has been unable to do so.


                                                     Respectfully submitted,


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                                       CERTIFICATE OF SERVICE

          I hereby certify that on January 18, 2022, a true and correct copy of Plaintiffs’ Motion to

   Compel Compliance with a Rule 45 Subpoena or, in the Alternative, to Transfer the Motion, with

   Exhibits 1 – 6 and Civil Cover Sheet thereto, was served via e-mail and United States Postal

   Service first-class mail on:

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